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7
8                           UNITED STATES DISTRICT COURT

9                          CENTRAL DISTRICT OF CALIFORNIA
10
        MICHAEL ARCHER; and TODD
11      COHN, individually and on behalf     Case No. 2:24-cv-10744-AB-JC
12      of all others similar situated,
                                             JOINT STIPULATION EXTENDING
13                       Plaintiff,          DEFENDANTS’ TIME TO RESPOND
        v.                                   TO FIRST AMENDED COMPLAINT
14
15      NBCUNIVERSAL MEDIA, LLC              Complaint Filed: December 13, 2024
16      and UNIVERSAL PICTURES
        HOME ENTERTAINMENT LLC               First Amended Complaint Filed:
17      d/b/a GRUV.COM,                      February 29, 2025
18                                           Current response date: March 5, 2025
                         Defendants.
19
                                             New response date: March 12, 2025
20
21                                           District Judge: Hon. André Birotte Jr.
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       JOINT STIPULATION EXTENDING DEFENDANTS’ TIME TO RESPOND TO FIRST AMENDED COMPLAINT
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1            Plaintiffs Michael Archer and Todd Cohn (“Plaintiffs”) and Defendants
2      NBCUniversal Media, LLC and Universal Pictures Home Entertainment LLC d/b/a
3      gruv.com (“Defendants” and with Plaintiff, the “Parties”), by and through their
4      respective counsel, stipulate and agree as follows:
5            WHEREAS, on December 13, 2024, Plaintiff Archer filed his original complaint
6      (the “Complaint”) against Defendants in this action;
7            WHEREAS, on December 16, 2024, Defendants were served a copy of the
8      Complaint and Summons;
9            WHEREAS, Defendants’ initial deadline to respond to the Complaint was
10     January 6, 2025;
11           WHEREAS, on January 2, 2025, the Parties agreed to a 30-day extension of
12     time per L.R. 8-3 for Defendants to respond to the Complaint, to and through February
13     5, 2025 (ECF 14);
14           WHEREAS, on January 16, 2025, Todd Cohn v. Universal Pictures Home
15     Entertainment, LLC d/b/a/ Gruv.com, No. 25-cv-00469 (S.D.N.Y.) (“Cohn Action”)
16     was initiated in the United States District Court for the Southern District of New York.
17     The Cohn Action alleged a single cause of action under the VPPA on behalf of “[a]ll
18     natural persons in the United States who, while having a Facebook account, purchased
19     a DVD, Blue-ray disc, or digital video code on www.gruv.com.”
20           WHEREAS, Counsel for original Plaintiff Archer and Counsel for plaintiff in
21     the Cohn Action agreed to jointly prosecute the two actions. To facilitate that joint
22     prosecution, the Parties requested that the Court extend Defendants’ deadline to
23     respond to the Complaint an additional 14 days through and including February 19,
24     2025 (ECF 17), which the Court did (ECF 18);
25           WHEREAS, on February 19, 2025, Plaintiffs filed the First Amended Complaint
26     “FAC”);
27           WHEREAS, the current deadline for Defendants to respond to the FAC is March
28     5, 2025;
                                                 1
       JOINT STIPULATION EXTENDING DEFENDANTS’ TIME TO RESPOND TO FIRST AMENDED COMPLAINT
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 1           WHEREAS, the Parties met and conferred and agree to a 7-day extension,
 2     through and including March 12, 2025, for Defendants to respond to Plaintiff’s FAC.
 3     This extension will provide Defendants’ counsel with additional time to investigate the
 4     allegations and prepare an appropriate response to the FAC;
 5           WHEREAS, the requested extension for Defendants to respond to the FAC
 6     is made in a timely fashion, in good faith, and not for any purpose of delay. Granting
 7     this request for an extension of time will not prejudice any party to this matter;
 8           WHEREAS, this is Defendants’ first request for an extension of time to respond
 9     to the FAC;
10           WHEREFORE, given the foregoing, Plaintiffs and Defendants have conferred
11     and agree that good cause exists to extend Defendants’ deadline to respond to the FAC
12     from March 5, 2025 to and including March 12, 2025.
13                                         STIPULATION
14           NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and
15     between the Parties that:
16           1. Defendants’ time to file a responsive pleading to the FAC shall be extended
17     by an additional 7 days through and including March 12, 2025;
18           2. This stipulation is without prejudice to the rights, claims, arguments, and
19     defenses of the Parties.
20                                             Respectfully submitted,
21

22     Dated: February 28, 2025                ZWILLGEN PLLC

23

24                                             By: /s/ Michael Bleicher
                                                   Michael Bleicher (SBN 313892)
25                                                 michael.bleicher@zwillgen.com
26
                                                   Attorneys for Defendants
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                                                 2
       JOINT STIPULATION EXTENDING DEFENDANTS’ TIME TO RESPOND TO FIRST AMENDED COMPLAINT
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 1     Dated: February 28, 2025               HEDIN LLP
 2

 3                                            By: /s/ Frank S. Hedin
 4                                                Frank S. Hedin (SBN 291289)
                                                  fhedin@hedinllp.com
 5

 6                                                Attorney for Plaintiffs

 7
                                  SIGNATURE CERTIFICATION
 8
             Pursuant to L.R. 5-4.3.4, I hereby attest that all signatories listed above, and on
 9
       whose behalf this Stipulation is submitted, concur in and have authorized the filing of
10
       this Joint Stipulation.
11
                                              By: /s/ Michael Bleicher
12                                                Michael Bleicher (SBN 313892)
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       JOINT STIPULATION EXTENDING DEFENDANTS’ TIME TO RESPOND TO FIRST AMENDED COMPLAINT
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